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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

AMGEN INC., )
)
Plaintiff, )
)
v. ) C.A. No. 16-853 (MSG)

) CONSOLIDATED
AUROBINDO PHARMA LTD., et al., )
)
Defendants. )

CONSENT JUDGMENT

 

Plaintiff Amgen Inc. (“Plaintiff’) and Aurobindo Pharrna Ltd. (“Aurobindo Ltd”) and
Aurobindo Pharma USA, lnc. (“Aurobindo USA”) (Aurobindo Ltd and Aurobindo USA
collectively referred to herein as “Defendants”), the parties in Civil Action No. 16-853-MSG and
Civil Action No. l6-853-MSG CONSOLIDATED, have agreed to terms and conditions
representing a negotiated settlement of this action and have set forth those terms and conditions
in an executed Settlement Agreement (the “Settlement Agreement”); Now the Parties, by their
respective undersigned attorneys, hereby stipulate and consent to entry of judgment and an
injunction in this action as follows:

IT IS this _ day of March 2018

ORDERED, ADJUDGED AND DECREED as follows:

l. This Court has jurisdiction over the subject matter of the above action and has
personal jurisdiction over the parties.

2. As used in this Consent Judgment, (i) the term “Defendants’ Product” shall mean
a drug product sold, offered for sale or distributed pursuant to Abbreviated New Drug
Application No. 206125; and (ii) the term “Affiliate” shall mean any entity or person that,

directly or indirectly through one or more intermediaries, controls, is controlled by, or is under

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common control with Defendants for purposes of this definition, “control” (a) means ownership,
directly or through one or more intermediaries, of (l) more than fifty percent (50%) of the shares
of stock entitled to vote for the election of directors, in the case of a corporation, or (2) more
than~ fifty percent (50%) of the equity interests in the case of any other type of legal entity or
status as a general partner in any partnership, or (b) any other arrangement whereby an entity or
person has the right to elect a majority of the Board of Directors or equivalent governing body of
a corporation or other entity or the right to direct the management and policies of a corporation
or other entity.

3. Defendants have admitted that Amgen’s United States Patent Number 9,375,405
(the “Amgen Patent”) is enforceable and valid.

4. For purposes of settling this Action, Defendants have admitted, for themselves
and their Affiliates, that the manufacture, use, sale, offer to sell, importation of, distribution of
the Defendants’ Product in or for the United States, except as the Parties have provided in their
Settlement Agreement, would infringe the Amgen Patent.

5. Defendants, including any of its successors and assigns, are enjoined under the
’405 patent, and under any extensions and/or additional periods of exclusivity to which Amgen is
or becomes entitled, from infringing the Amgen Patent, on its own part or through any Afflliate,
by making, having made, using, selling, offering to sell, importing or distributing of the
Defendants’ Product unless specifically authorized pursuant to the Settlement Agreement.

6. Except as the Parties have provided in their Settlement Agreement, by virtue of
this Consent Judgment all other claims and demands for relief prayed for by Amgen against

Defendants in this action are deemed to be satisfied

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7. Except as the Parties have provided in their Settlement Agreement, by virtue of
this Consent Judgment all other claims and demands for relief prayed for by Defendants against
Amgen in this action are deemed to be satisfied

8. Defendants have agreed that in the event of breach or violation by Defendants of
the terms of this Consent Judgment, jurisdiction and venue for an action for a preliminary
injunction against the breaching conduct exists in this District Court, and Defendants hereby
waive any and all defenses based on personal jurisdiction and venue for that action.

9. Compliance with this Consent Judgment may be enforced by Defendants or
Amgen and its successors in interest, or assigns, as permitted by the terms of the Settlement
Agreement.

10. This Court retains jurisdiction to enforce or supervise performance under this
Consent Judgment and the Settlement Agreement.

11. The above action, including all claims, counterclaims and affirmative defenses, is

dismissed with prejudice and without costs, disbursements or attorneys’ fees to any party.

 

MoRRls, NICHOLS, ARSHT & TUNNELL LLP MoRRls JAMES LLP

/s/jac,€fB. CB[umenfeH /s/ Mary U. Matterer

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